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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

  IN RE: KATRINA CANAL BREACHES                                *       CIVIL ACTION
  CONSOLIDATED LITIGATION
  ___________________________________________                  *       NUMBER: 05-4182

  LEVEE CASES                                                  *       SECTION: “K” (2)
  PERTAINS TO:        06-4931
  (Emma Brock, et al)                                          *       JUDGE DUVAL

                                                  *     MAG. WILKINSON
  __________________________________________________________________________
                          NOTICE OF HEARING

         Considering the foregoing Motion and opposition expressed:

         IT IS ORDERED, that defendants show cause on the 19th day of September, 2007 at

  9:30 a.m. o’clock, why plaintiffs should not be granted the relief requested.

         NEW ORLEANS, LOUISIANA this ____ day of ________________, 2007.



                                                _______________________________
                                                JUDGE
